881 F.2d 1069Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Larry D. POLLARD, Plaintiff-Appellant,v.Milton KIMPSON, Defendant-Appellee.
    No. 89-1410.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 13, 1989.Decided Aug. 2, 1989.Rehearing Denied Aug. 30, 1989.
    
      Larry D. Pollard, appellant pro se.
      Kelly Jean Golden, Workers' Compensation Commission, for appellee.
      Before DONALD RUSSELL, WIDENER, and SPROUSE, Circuit Judges.
      PER CURIAM:
    
    
      1
      Larry D. Pollard appeals from the district court's order denying relief under 42 U.S.C. Secs. 1983, 1985, and 1986.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Pollard v. Kimpson, C/A No. 88-3074-17K-8 (D.S.C. Dec. 12, 1988).  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      AFFIRMED.
    
    